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                                United States District Court
                                        District of Oregon
                                         Portland Division



 Vicky LYNN,                                       )
                                                   )    Civil Action No.: .......................... 3:19-cv-397
           Plaintiff
                                                   )
          v.                                       )    COMPLAINT FOR DECLARATORY
                                                   )    JUDGMENT OF NON-INFRINGEMENT
 Alexander STROSS,                                 )    OF COPYRIGHT
                                                   )
           Defendant                               )    JURY TRIAL DEMANDED
                                                   )


THIS is an action brought by Plaintiff Vicky LYNN for declaratory judgment against Defendant

Alexander STROSS.


                                                 Parties

1.    Plaintiff Vicky LYNN (“LYNN”) is an individual residing within this District.

2.    LYNN is informed and believes that Defendant Alexander STROSS (“STROSS”) is an

individual residing in Austin, Texas.




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                                              J u r i s di c t i o n

3.    This action arises under the Copyright Act of 1976, Title 17 U.S.C. §§ 101 et seq.

4.    This Court has federal-question jurisdiction under 28 U.S.C. §§ 1331 and 1338(a) and (b).


                                                   Venue

5.    Venue in this judicial district is proper under 28 U.S.C. § 1391(c) and 1400(a) in that this

is the judicial district in which a substantial part of the acts and omissions giving rise to the claims

occurred.


                                       F a c tu a l A l l eg a t i o n s

6.    Plaintiff is informed and believed, and individuals purporting to act for Defendant STROSS

have represented to Plaintiff, that STROSS is the owner of 65,323 photographs dated 18

September 2011 through 24 January 2012 (the “WORK”), which are the subject of U.S.

Copyright Registration No. VAu 1-089-810 (Registration Certificate attached hereto as Exhibit

1).

7.    Plaintiff obtained a digital photograph (the “PHOTO”), reproduced here, from non-party

online service Pinterest (www.pinterest.com), and placed the PHOTO on a web-log (“blog”)

article she wrote about homes of the sort depicted in the PHOTO.




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8.    A screen capture image of the blog article, posted on or about 23 March 2017, is

reproduced here:




9.    Plaintiff submitted a link to her blog article to the International Association of Women

website, www.iawomen.com, on or about 15 April 2017. Upon information and belief, an

automatic process of the IAWomen website caused a copy of the blog article to be visible to

subscribers who had access to that website for a period of time. A screen capture image of the

reposting is reproduced here:




10.   Plaintiff discontinued her membership to the IAWomen website around September 2017.

11.   Both of these postings are believed to have been rendered inaccessible to the public.

12.   On or about 12 December 2018 an individual representing ImageRights International, Inc.,

acting pursuant to an authorization executed 28 August 2017 by Defendant STROSS,



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approached Plaintiff and demanded a monetary payment for an alleged infringement of the

WORK based upon the aforementioned blog posting and reposting.

13.   Plaintiff is informed and believed that Defendant STROSS, by and through his agent Image

Rights International, Inc., is alleging that the PHOTO is present among the 65,323 photos

comprising the WORK.

14.   Plaintiff and Defendant (as represented by ImageRights International, Inc.) were unable to

reach a mutually-acceptable accommodation, and ImageRights International, Inc. stated that such

failure would result in “escalation” on 8 March 2019.

15.   Plaintiff believes that “escalation” references the imminent commencement of a copyright

infringement action against her.

16.   Plaintiff has attempted to determine whether the PHOTO is part of the WORK, but has

been unable to do so. If the PHOTO is not part of the WORK, then Plaintiff’s actions did not

infringe Defendant’s copyright in the WORK at all.

17.   Upon information and belief, the PHOTO is not the creative focus or “heart” of the

WORK.

18.   Upon information and belief, Plaintiff’s use of the PHOTO did not affect the potential

market for the PHOTO or the registered WORK.


        C l a i m f or R e l i e f : D e c l a r a to r y J u d g m e n t o f N o n - I n f r i n g e m e n t

19.   Plaintiff repeats and realleges each and every fact in paragraphs 1 through 18.

20.   On the facts known to or believed by Plaintiff, Defendant could institute a coercive action

in federal court alleging infringement of the WORK.




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21.   Plaintiff has a real and credible apprehension of the institution of such an action due to the

representations of individuals associated with ImageRights International, Inc., which purports to

act on behalf of Defendant STROSS.

22.   Plaintiff seeks through this declaratory-judgment action a determination of the rights and

obligations of the parties with respect to the WORK and the PHOTO in view of the facts alleged

above.


                                       A f f i r m a t i v e D e f e ns e s

23.   Defendant’s action for infringement of the WORK based upon Plaintiff’s use of the

PHOTO is barred by the doctrine of fair use.

24.   Plaintiff’s use of the PHOTO is a de minimis infringement for which Defendant may not

obtain relief.

25.   Defendant failed to utilize the “notice and takedown” procedure set forth in 17 U.S.C. §

512(c), so Plaintiff is not liable to Defendant for monetary, equitable or other injunctive relief.


                                          P r a y e r f or R el i e f

Wherefore, Plaintiff prays for judgment as follows:

a.    A declaration that Plaintiff’s actions did not infringe Defendant’s rights in the WORK; or

b.    A declaration that Plaintiff’s actions were a de minimis infringement for which Defendant

can obtain no relief; or

c.    A declaration that Plaintiff’s actions were excused by the doctrine of fair use; or

d.    A declaration that Plaintiff was not aware and had no reason to believe that her actions

constituted an infringement of copyright, and consequently that Defendant may recover no more

than $20000 plus costs and a reasonable attorney fee as determined by the Court; or


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e.    A declaration that Plaintiff is liable to Defendant for statutory damages not exceeding

$75000 plus costs and a reasonable attorney fee as determined by the Court; or

f.    A declaration that Plaintiff is liable to Defendant for actual damages as proven by

Defendant, such actual damages not exceeding $1,00000;

and

g.    such other relief as the Court deems proper.

Plaintiff demands a jury trial on all issues so triable pursuant to Fed. R. Civ. P. 38 and the Seventh

Amendment to the United States Constitution.

Respectfully submitted,                                       Digitally signed
                                                              by David
                                                              MADDEN
        15 March 2019                                         Date: 2019.03.15
                Date                                          13:48:57 -07'00'
                                      David H. Madden, SBN OR080396
                                      Attorney for Plaintiff Vicky LYNN
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                                              Exhibit 1




3:19-cv-397            Exhibit 1 to Complaint for Declaratory Judgment
Exhibit 1              Certificate of Registration for VAu 1-089-810
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Certificate of Registration
                      This Certificate issued under the seal of the Copyright
                      Office in accordance with title 17, United States Code,
                      attests that registration has been made for the work
                      identified below. The information on this certificate has         Registration Number
                      been made a part of the Copyright Office records.
                                                                                      VAu 1-089-810
                              ....1,     A             f. e. . . ,                        Effective date of
                                                                                            registration:
                      Register of Copyrights, United States of America                    February 20, 2012




  Title
                          Title of Work: Alexander Stross 65,323 Photographs 9/18/2011 - 1/24/2012
  Completion/Publication
              Year of Completion: 2011

  Author
                  ■             Author: Alexander Bayonne Stross
                      Author Created: photograph(s)

                             Citizen of: United States                            Domiciled in: United States

  Copyright claimant
             Copyright Claimant: Alexander Bayonne Stross
                                           616 Oakland Ave, Austin, TX, 78703

  Rights and Permissions
              Organization Name: Stross Arts
                                 Name: Alexander Bayonne Stross
                                 Email: abstross@gmail.com                                           Telephone:   512-586-1648
                              Address: PO Box 300459
                                           Austin, TX 78703 United States

  Certification
                                 Name: Alexander Bayonne Stross
                                  Date: January 25, 2012




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